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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on August 11, 2021

UNITED STATES OF AMERICA : CRIMINAL NO. 21-CR-387 (APM)
v.
AUDREY ANN SOUTHARD-RUMSEY, : VIOLATIONS:
also known as “Audrey Ann Southard,” : 18 U.S.C. § 231(a)(3)
: (Civil Disorder)
Defendant. > =©18 U.S.C. § 111(a)(1)

(Assaulting, Resisting, or Impeding
Certain Officers)
: 18 U.S.C. §§ 1512(c)(2), 2
: (Obstruction of an Official Proceeding)
> =©18 U.S.C. § 1752(a)(1)
(Entering and Remaining in a Restricted
Building or Grounds)
18 U.S.C. § 1752(a)(2)
: (Disorderly and Disruptive Conduct ina
: Restricted Building or Grounds)
: 18U.S.C. § 1752(a)(4)
(Engaging in Physical Violence in a
Restricted Building or Grounds)
40 U.S.C. § 5104(e)(2)(D)
: (Disorderly Conduct in a Capitol Building)
> ©40U.S.C. § 5104(e)(2)(F)
: (Act of Physical Violence in the Capitol
: Grounds or Buildings)
40 U.S.C. § 5104(e)(2)(G)
(Parading, Demonstrating, or Picketing in
a Capitol Building)

INDICTMENT
The Grand Jury charges that:

COUNT ONE
On or about January 6, 2021, within the District of Columbia, AUDREY ANN

SOUTHARD-RUMSEY, also known as “Audrey Ann Southard,” committed and attempted to
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commit an act to obstruct, impede, and interfere with a law enforcement officer, that is, Officer
R.S., an officer from the United States Capitol Police, lawfully engaged in the lawful performance
of his/her official duties incident to and during the commission of a civil disorder which in any
way and degree obstructed, delayed, and adversely affected commerce and the movement of any
article and commodity in commerce and the conduct and performance of any federally protected
function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT TWO

On or about January 6, 2021, within the District of Columbia, AUDREY ANN
SOUTHARD-RUMSEY, also known as “Audrey Ann Southard,” did forcibly assault, resist,
oppose, impede, intimidate, and interfere with, an officer and employee of the United States, and
of any branch of the United States Government (including any member of the uniformed services),
that is, Officer R.S., an officer from the United States Capito! Police, while such person was
engaged in and on account of the performance of official duties, and where the acts in violation of
this section involve physical contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 1 11(a)(1))

COUNT THREE
On or about January 6, 2021, within the District of Columbia, AUDREY ANN
SOUTHARD-RUMSEY, also known as “Audrey Ann Southard,” committed and attempted to
commit an act to obstruct, impede, and interfere with a law enforcement officer, that is, Sergeant
N.V., an officer from the United States Capito! Police, lawfully engaged in the lawful performance
of his/her official duties incident to and during the commission of a civil disorder which in any

way and degree obstructed, delayed, and adversely affected commerce and the movement of any

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article and commodity in commerce and the conduct and performance of any federally protected
function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT FOUR

On or about January 6, 2021, within the District of Columbia, AUDREY ANN
SOUTHARD-RUMSEY, also known as “Audrey Ann Southard,” did forcibly assault, resist,
oppose, impede, intimidate, and interfere with, an officer and employee of the United States, and
of any branch of the United States Government (including any member of the uniformed services),
that is, Sergeant N.V., an officer from the United States Capitol Police, while such person was
engaged in and on account of the performance of official duties, and where the acts in violation of
this section involve physical contact with the victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT FIVE
On or about January 6, 2021, within the District of Columbia and elsewhere, AUDREY
ANN SOUTHARD-RUMSEY, also known as “Audrey Ann Southard,” attempted to, and did,
corruptly obstruct, influence, and impede an official proceeding, that is, a proceeding before
Congress, specifically, Congress’s certification of the Electoral College vote as set out in the
Twelfth Amendment of the Constitution of the United States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT SIX
On or about January 6, 2021, within the District of Columbia, AUDREY ANN

SOUTHARD-RUMSEY, also known as “Audrey Ann Southard,” did knowingly enter and
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remain in a restricted building and grounds, that is, any posted, cordoned-off, and otherwise
restricted area within the United States Capitol and its grounds, where the Vice President was
temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT SEVEN

On or about January 6, 2021, within the District of Columbia, AUDREY ANN
SOUTHARD-RUMSEY, also known as “Audrey Ann Southard,” did knowingly, and with intent
to impede and disrupt the orderly conduct of Government business and official functions, engage
in disorderly and disruptive conduct in and within such proximity to, a restricted building and
grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United States
Capitol and its grounds, where the Vice President was temporarily visiting, when and so that such
conduct did in fact impede and disrupt the orderly conduct of Government business and official
functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT EIGHT
On or about January 6, 2021, within the District of Columbia, AUDREY ANN
SOUTHARD-RUMSEY, also known as “Audrey Ann Southard,” did knowingly, engage in any
act of physical violence against any person and property in a restricted building and grounds, that
is, any posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
grounds, where the Vice President was temporarily visiting.

(Engaging in Physical Violence in a Restricted Building or Grounds, in violation of
Title 18, United States Code, Section 1752(a)(4))
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COUNT NINE
On or about January 6, 2021, within the District of Columbia, AUDREY ANN
SOUTHARD-RUMSEY, also known as “Audrey Ann Southard,” willfully and knowingly
engaged in disorderly and disruptive conduct within the United States Capitol Grounds and in any
of the Capitol Buildings with the intent to impede, disrupt, and disturb the orderly conduct of a
session of Congress and either House of Congress, and the orderly conduct in that building ofa
hearing before or any deliberation of, a committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40; United States Code,
Section 5104(e)(2)(D))

COUNT TEN
On or about January 6, 2021, within the District of Columbia, AUDREY ANN
SOUTHARD-RUMSEY, also known as “Audrey Ann Southard,” willfully and knowingly
engaged in an act of physical violence within the United States Capitol Grounds and any of the
Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))
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COUNT ELEVEN
On or about January 6, 2021, within the District of Columbia) AUDREY ANN
SOUTHARD-RUMSEY, also known as “Audrey Ann Southard,” willfully and knowingly
paraded, demonstrated, and picketed in any United States Capitol Building. ;

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G)) of

A TRUE BILL:

FOREPERSON.

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Attorney of the United States in
and for the District of Columbia.
